     Case 2:19-cv-00063-CW Document 4 Filed 01/29/19 PageID.45 Page 1 of 2




Savvas S. Diacosavvas
Darren H. Lubetzky
Federal Trade Commission
Northeast Region
One Bowling Green, Suite 318
New York, NY 10004
Tel: (212) 607-2809 (Diacosavvas)
Tel: (212) 607-2808 (Lubetzky)
Fax: (212) 607-2822
Email: sdiacosavvas@ftc.gov
Email: dlubetzky@ftc.gov

Attorneys for Plaintiff
FEDERAL TRADE COMMISSION

                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION

                                               *
Federal Trade Commission                       *       Case No.: 19-cv-00063 (CW)
                                               *
v.                                             *       Honorable Clark Waddoups
                                               *
Fat Giraffe Marketing Group LLC, et al.        *       MOTION FOR ENTRY OF
                                               *       STIPULATED ORDER FOR
                                               *       PERMANENT INJUNCTION AND
                                               *       MONETARY JUDGMENT
                                               *
                                               *

       Plaintiff Federal Trade Commission moves the Court under DUCivR 7-1(a)(2)(G) for

approval of the attached Stipulated Order for Permanent Injunction and Monetary Judgment as to

all Defendants. In support of this motion, the FTC states as follows:

       1.      On January 29, 2019, the FTC filed this action against the following seven

defendants for injunctive and other equitable relief pursuant to Section 13(b) of the Federal

Trade Commission Act, 15 U.S.C. §53(b), and the Telemarketing and Consumer Fraud and

Abuse Prevention Act, 15 U.S.C. §§ 6101-6108: Fat Giraffe Marketing Group LLC; Cloud

Click, L.L.C.; Elevate Consulting International LLC; Cove Solutions LLC; Lake View Holdings

                                                 1
   Case 2:19-cv-00063-CW Document 4 Filed 01/29/19 PageID.46 Page 2 of 2




LLC; Gregory W. Anderson; and Garrett P. Robins (collectively, “Defendants”).

       2.      The FTC and all Defendants have settled this matter and have agreed to entry of a

proposed Stipulated Order for Permanent Injunction and Monetary Judgment (“Proposed

Stipulated Order”), a copy of which is attached hereto as Exhibit 1.

       3.      Entry of the Proposed Stipulated Order would resolve this matter in full, except

the Court would retain jurisdiction of the matter for purposes of construction, modification, and

enforcement of the order.

       Wherefore, the FTC respectfully moves this Court to enter the attached proposed

Stipulated Order for Permanent Injunction and Monetary Judgment.

Dated: January 29, 2019                      Respectfully submitted,

                                             __/s/ Savvas S. Diacosavvas_____
                                             Savvas S. Diacosavvas
                                             Darren H Lubetzky
                                             Federal Trade Commission
                                             Northeast Region
                                             One Bowling Green, Suite 318
                                             New York, NY 10004
                                             Tel: (212) 607-2809 (Diacosavvas)
                                             Tel: (212) 607-2808 (Lubetzky)
                                             Facsimile: (212) 607-2822
                                             Email: sdiacosavvas@ftc.gov
                                             Email: dlubetzky@ftc.gov
                                             Attorneys for Plaintiff Federal Trade Commission




                                                2
